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8                           UNITED STATES DISTRICT COURT
9                        SOUTHERN DISTRICT OF CALIFORNIA
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11    FRANCIS CORTEZ,                           Case No.: 17cv2152-LAB (KSC)
12                                 Plaintiff,
                                                ORDER AMENDING ORDER
13    v.                                        VACATING ENTRY OF
                                                DEFAULT; AND
14    NATIONAL CREDIT ADJUSTERS,
      LLC, et al.,
15                                              ORDER ACCEPTING LATE-
                                Defendant.      FILED PROOF OF SERVICE
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18         The Court issued an order to show cause re: dismissal for failure to serve.
19   (Docket no. 12.) That order incorrectly cited Cal. Corp. Code ' 1502 as requiring
20   foreign limited liability companies doing business in California to designate in-state
21   agents for service of process. In fact, the provision applicable to limited liability
22   companies is ' 17701.13(b) and (c). The effect is the same, however: Individuals
23   designated as agents for service of process must live in California. Therefore, it
24   should have been clear that an individual living in Delaware was not the correct
25   designated agent. The Court’s order to vacating the entry of default is therefore
26   DEEMED AMENDED to include this correction.
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1          Plaintiff has now filed proof of service. Although it was filed several days after
2    the deadline the Court set, the Court will excuse this small error, in light of Plaintiff’s
3    continuing efforts to comply with the rules.
4          The return of service, although late, is therefore ACCEPTED AS FILED.
5    This order does not prevent Defendant from challenging the sufficiency of service.
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8          IT IS SO ORDERED.
9    Dated: June 18, 2018
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11                                              Hon. Larry Alan Burns
                                                United States District Judge
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